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                                                                                           United States Bankruptcy Court
                                                                                               Southern District of Texas

                                                                                                  ENTERED
                             IN THE UNITED STATES BANKRUPTCY COURT                             December 11, 2024
                               FOR THE SOUTHERN DISTRICT OF TEXAS                              Nathan Ochsner, Clerk
                                        HOUSTON DIVISION

IN RE:                                §
                                      §                                CASE NO: 22-32998
HOUSTON REAL ESTATE PROPERTIES        §
LLC,                                  §                                CHAPTER 7
                                      §
       Debtor.                        §
                                      §
2727 KIRBY 26L LLC, 9201 MEMORIAL DR. §
LLC, AND SHEPHERD-HULDY               §
DEVELOPMENT I, LLC,                   §
                                      §
       Plaintiffs,                    §
                                      §
VS.                                   §                                ADVERSARY NO. 24-3091
                                      §
CYPRESS BRIDGECO, LLC,                §
MAGNOLIA BRIDGECO, LLC,               §
AND GARY LANCASTER,                   §
                                      §
       Defendants.                    §

                                           ORDER SETTING HEARING

         Hearing is set on the Emergency Motion to Expunge Lis Pendens (ECF No. 25) at 2:30 p.m. on
December 19, 2024, in Courtroom 403, United States Courthouse, 515 Rusk St., Houston, Texas. The
response deadline is 5:00 p.m. on December 17, 2024. Requested relief that is unopposed by written
response prior to the response deadline may be ruled on without the necessity of a hearing. The Court may
grant or deny any relief sought in any motion/application or objection without hearing based on responsive
pleadings. The movant shall serve a copy of this order on all affected parties within 24 hours and file a
certificate of service; or file and serve a hearing notice within 24 hours, which must include the response
deadline.

       Parties should reference the Court’s website for in person hearing requirements and
connection instructions for virtual appearances.1

         SO ORDERED.
           SIGNED 12/11/2024

                                                                  ___________________________________
                                                                  Jeffrey Norman
                                                                  United States Bankruptcy Judge




1 https://www.txs.uscourts.gov/page/united-states-bankruptcy-judge-jeffrey-p-norman



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